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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION

                            CASE NO.23-80101-CR-CANNON

  UNITED STATES OF AMERICA

  v.

  CARLOS DE OLIVEIRA
                 Defendant.
  ____________________________/

                         INITIAL SPEEDY TRIAL REPORT
                      BY DEFENDANT CARLOS DE OLIVEIRA

        Pursuant to Local Rule 88.5 and the Court’s Omnibus Order Setting Trial Date
  and Establishing Pretrial Instructions and Sentencing Procedures (ECF No. 28), both
  of which require the filing of Speedy Trial Reports, Defendant Carlos De Oliveira
  hereby files this Initial Speedy Trial Report regarding the status of his case under the
  Speedy Trial Act of 1984, 18 U.S.C. §§ 3161 et seq. (“Speedy Trial Act”). 1

        Mr. De Oliveira agrees that in its July 21, 2023, Order Granting in Part
  Government’s Motion to Continue Trial and Resetting Deadlines (ECF No. 83), the
  Court excluded all of the time between the date of that Order and the trial date of
  May 20, 2024, pursuant to 18 U.S.C. § 3161(h)(7)(A); and that by Order dated
  August 21, 2023 (ECF No. 128), the Court extended its earlier Order to Defendant
  De Oliveira.

        However, the Court’s July 21, 2023, Order predated the superseding
  indictment in this case, which the Government filed on July 27, 2023 (ECF No. 85).
  Mr. De Oliveira initially appeared on July 31, 2023 (ECF No. 89), and he was
  arraigned on August 10, 2023 (ECF No. 109).
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    The Government requested that counsel for Mr. De Oliveira file his own Speedy Trial Report if
  they disagree with the representations in the Government’s Third Speedy Trial Report (ECF No.
  130).
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         Mr. De Oliveira has not filed any motions in this case. He does not concede
  that the interests of justice require a delay in his trial, and he asserts his right to a
  speedy trial within 70 days of his first appearance on July 31, 2023. By undersigned
  counsel’s calculations, that would be October 9, 2023.

  Dated: August 22, 2023


                                    Respectfully Submitted

                                       /s Larry Donald Murrell, Jr.           b
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                                       /s John S. Irving, IV                  g
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                                    Attorneys for Defendant Carlos De Oliveira




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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 22, 2023, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record or pro se

  parties identified on the attached Service List in the manner specified, either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                         /s Larry Donald Murrell, Jr.
                                   ____________________________________
                                   LARRY DONALD MURRELL, JR., ESQ.

                                    SERVICE LIST
                       U.S.A. vs. CARLOS DE OLIVEIRA
                       CASE NO: 23-CR-80101-CANNON
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

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